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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO

ABX AIR, INC.,                                        )
145 Hunter Drive                                      )
Wilmington, OH 45177                                  )
                                                      )
Plaintiff,                                            )
                                                      )       CIVIL ACTION NO. ___________
        v.                                            )
                                                      )
INTERNATIONAL BROTHERHOOD OF                          )
TEAMSTERS, AIRLINE DIVISION;                          )
25 Louisiana Ave NW,                                  )
Washington, DC 20001                                  )
                                                      )
AIRLINE PROFESSIONALS ASSOCIATION                     )
OF THE INTERNATIONAL BROTHERHOOD                      )
OF TEAMSTERS, LOCAL UNION NO. 1224;                   )
2754 Old State Route 73                               )
 Wilmington, OH 45177                                 )
                                                      )
Defendants.                                           )

      VERIFIED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

        Plaintiff ABX Air, Inc. (“ABX”) brings this action for injunctive relief, declaratory relief,

and other appropriate relief under the Railway Labor Act (“RLA”), 45 U.S.C. §§ 151, et seq.,

and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, against Defendants,

International Brotherhood of Teamsters (“IBT”) and Airline Professionals Association of the

International Brotherhood of Teamsters, Local Union No. 1224 (“Local 1224”) (collectively,

“Defendants”).

                                        INTRODUCTION

1.      ABX seeks injunctive relief, declaratory relief, and other appropriate relief against

Defendants for violations of Section 2, First of the RLA, Section 6, First of the RLA, and Section

204 of the RLA.




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2.     As detailed below, Plaintiff and Defendants are currently engaged in bargaining under

Section 6 of the RLA for a successor collective bargaining agreement. In the parlance of the

RLA, 45 U.S.C. §§ 151 et seq., the parties are engaged in a so-called “major dispute.”

3.     Under the RLA both parties are required to adhere to the status quo until the processes

established by the RLA for the resolution of major disputes have been exhausted.

4.     Those processes are not exhausted until the National Mediation Board (“NMB”), the

federal agency tasked with supervision of labor relations in the rail and air industries, finds the

parties are at impasse, makes a proffer of interest arbitration that is not accepted by both parties,

a 30-day cooling off period expires, and no Presidential Emergency Board is convened.

5.     The parties’ negotiations are presently being conducted with the mediatory assistance of

the NMB under Sections 5 and 6 of the RLA, 45 U.S.C. §§ 155, 156, and those major dispute

resolution processes have not been exhausted.

6.     Despite their legal obligation to adhere to the status quo, Defendants are engaged in an

unlawful campaign to exert economic pressure on ABX through various concerted efforts in

order to coerce ABX to accede to their bargaining demands during negotiations for a successor

agreement to the parties’ current collective bargaining agreement.

7.     Defendants’ concerted actions have resulted in ABX’s pilots accumulating a backlog of

days off. As ABX pilots utilize these ill-gotten days off, ABX is experiencing an interruption to

service through flight delays and cancellations. If left un-remedied, ABX will experience crucial

flight failures within days.

8.     On October 27, 2016, ABX was forced to notify a customer that is could no longer meet

its contractual obligations to fly for that customer due to lack of available flight crews.




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9.      Because ABX has not caved to Defendants’ demands, Defendants are threatening an

imminent strike. Upon information and belief, the strike will begin either November 1 or

November 2, 2016.

10.     One of the express purposes of the RLA is to “avoid any interruption to commerce or to

the operation of any carrier engaged therein.” 45 U.S.C. § 151a. This principle is reflected in

Section 2, First of the RLA (45 U.S.C. § 152, First) which imposes a duty on “all carriers, their

officers, agents, and employees to exert every reasonable effort to make and maintain

agreements concerning rates of pay, rules, and working conditions, and to settle all disputes,

whether arising out of the application of such agreements or otherwise, in order to avoid any

interruption to commerce or to the operation of any carrier growing out of any dispute between

the carrier and the employees thereof.” (Emphasis added.)

11.     The principle of avoiding interruptions to commerce in the airline industry is also

reflected in the RLA’s major dispute resolution process. The major dispute procedures are

“virtually endless” and “purposely long and drawn out.” Burlington N. R.R. Co. v. Maint. of

Way Employees, 481 U.S. 429, 444 (1987); Railway Clerks v. Florida E. Coast R.R. Co., 384

U.S. 238, 246 (1966).

12.     A union may not engage in self-help or strike until those lengthy procedures have been

exhausted. Under the RLA, a concerted refusal to work overtime and/or cause slowdowns may

constitute a violation of this procedural requirement. Similarly, a union cannot strike.

13.     ABX is responsible for shipping time-sensitive freight on behalf of its two primary

clients: DHL Network Operations (USA), Inc. and its affiliates (“DHL”) and Amazon

Fulfillment Services, Inc. (“AFS”), a subsidiary of Amazon.com, Inc. (“Amazon”). Beginning in

early November of each year, ABX begins its peak season, relating to shipping during the




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Christmas holiday season. Based on the timing of Defendants’ actions, the Christmas shopping

and shipping season could be severely impacted if flights full of freight for DHL and Amazon

are cancelled because of Defendants’ illegal labor actions, which could result in millions of

dollars of freight and packages not timely being delivered to retailers and homes.

14.     Because Defendants’ concerted efforts, negotiation tactics, and threatened strike are

directly at odds with the RLA, and because substantial and irreparable harm would result to ABX

and its customers if such an actions were permitted to occur, the Court should grant a temporary

restraining order and preliminary and permanent injunctive relief as requested by ABX.


                                 JURISDICTION AND VENUE

15.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as this case

arises under the laws of the United States, specifically the RLA, 45 U.S.C. §§ 151, et seq.

Jurisdiction also is appropriate under 28 U.S.C. § 1337, as the RLA is a law regulating

commerce.

16.     Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(b) as a substantial part

of the events giving rise to the suit occurred here.


                                             PARTIES

17.     ABX is a corporation organized and existing under the laws of the State of Delaware,

with its principal offices in Wilmington, Ohio.

18.     ABX is a FAR Part 121 cargo airline flying express cargo routes for customers in the

U.S. and around the world, making it a “common carrier by air engaged in interstate or foreign

commerce” within the meaning of 45 U.S.C. § 181 and, therefore, subject to the RLA.

19.     ABX transports time-sensitive materials nationwide. From Amazon’s sort center in

Wilmington, Ohio and DHL’s sort center in Hebron, Kentucky, ABX services 43 cities in the



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United States and other countries with company-owned or leased aircraft. ABX carries

perishable goods for shipment that may be destroyed by even a short delay, and it ships

hazardous materials that may pose safety risks if delivery is untimely. It also carries company

payrolls, computer parts critical to the operations of innumerable businesses, and documents

essential to financial and real estate transactions and litigation.

20.     ABX has two primary customers. One is DHL; approximately 20,742 block hours flown

by ABX are flown pursuant to a contract between DHL, ABX, and ABX’s affiliate, Cargo

Aircraft Management, Inc. Another is Amazon; approximately 6,580 block hours flown by ABX

are flown pursuant to a contract between Amazon, ABX, and ABX’s affiliate, Airborne Global

Solutions, Inc.

21.     ABX’s customers, such as DHL and Amazon, expect ABX to provide on-time,

immediate delivery of their goods and materials; both have set a reliability standard in excess of

98%.

22.     ABX is a wholly owned subsidiary of Air Transport Services Group, Inc. (“ATSG”), a

publicly traded company (NASDAQ National Market).

23.     ATSG is also the parent company of Air Transport International, Inc. (“ATI”). ATI is an

air carrier which utilizes B767-200, B757-200, and B757 Combi freighter capacity. ATI has its

own contracts with DHL and Amazon to ship freight using its B767-200 and B757-200 aircraft

(similarly to ABX); ATI also contracts with the Department of Defense to transport military

personnel and equipment with its B757 Combi aircraft.

24.     ATI’s flight deck crewmembers are represented by a separate, rival union, the Air Line

Pilots Association, International (“ALPA”). There is a collective bargaining agreement between

ATI and ALPA (the “ATI/ALPA CBA”) that establishes the rates of pay, rules, and working




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conditions applicable to that relationship. ATI and ALPA are currently engaged in bargaining

for a successor CBA under Section 6 of the RLA.

25.      Defendant IBT is an unincorporated labor organization headquartered in Washington,

D.C. It is the collective bargaining representative of the ABX pilots under the RLA.

26.      Defendant Local 1224 is an unincorporated labor organization headquartered in

Wilmington, Ohio. It is a chartered affiliate of Defendant IBT, and as such, it provides labor

representation services to pilots represented by IBT employed at numerous airlines throughout

the United States. On information and belief, Local 1224 represents the pilots at all of the

carriers who contract with DHL for service in the United States EXCEPT the pilots at ATI who

are represented by ALPA. On information and belief, IBT has delegated to Local 1224 the

exclusive responsibility for providing day-to-day representation to the ABX pilots represented by

IBT.

27.      On information and belief, Defendant Local 1224 and Defendant IBT transact business

within the jurisdiction of this Court.


                                          THE DISPUTE

The Parties’ Collective Bargaining Agreement and Labor Negotiations

28.      ABX and IBT are parties to a collective bargaining agreement, which took effect in 2010.

See Exhibit 1, 2009-2014 ABX-IBT Collective Bargaining Agreement (the “Agreement”).

29.      Pursuant to Article 1, Section B of the Agreement, the Union and the pilots are to

cooperate fully with ABX so as to attain efficient operations of the Company.

30.      Pursuant to Article 25 of the Agreement (Duration), the parties exchanged Section 6

notices and began collective bargaining for a successor labor agreement in December 2013.




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31.     The parties have been in mediated negotiations under the auspices of the NMB, pursuant

to Section 6 of the RLA, since August 2014 when Mediator James Mackenzie was appointed.

32.     Local 1224 has advocated for specific proposals regarding Article 1 of the Agreement

(Scope and Duration). Specifically, Local 1224 demanded all flights for DHL in DHL’s North

American network be operated by crewmembers on the ABX seniority list. In other words, Local

1224 has demanded that the work presently being done by ATI pilots, and covered by the

ATI/ALPA CBA, be transferred to Local 1224’s members. Alternatively, it would require the

merger of ABX and ATI.

33.     Again, ABX and ATI are separate companies owned by the holding company ATSG.

Both ABX and ATI provide services to DHL and Amazon; Local 1224 demands that ABX be

given all of the DHL and Amazon work whether through a work transfer or merger.

34.     On November 18, 2014, Local 1224 submitted a formal proposal regarding changes to

Article 1 of the Agreement. In that proposal, Local 1224 demanded that all flights on behalf of

DHL in DHL’s North American network – including those presently performed by ATI – be

operated by an ABX Crewmember (Section 1.E.1.e.); and that ATI in the future could operate

only aircraft then “currently listed on the ATI operating certificate,” which would effectively

prevent ATI from ever growing in the future (Section 1.E.2.a.).

35.     On October 14, 2015, Local 1224 submitted a second proposed revision of Article 1 of

the Agreement. That proposal – in proposed Section 1.E.1.d – would require ATI to cease all

flying for DHL and Amazon and to transfer to ABX and its IBT-represented pilots all that work

currently done by ATI’s ALPA-represented pilots.

36.     In discussions across the bargaining table, and in discussions away from the bargaining

table, among Richard Ziebarth (“Ziebarth”), Executive Committee Chairman of Local 1224 for




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the ABX pilots, John Starkovich (“Starkovich”), President of ABX, and Robert Boja (“Boja”),

Vice-President of Flight Operations at ABX, Ziebarth has demanded that ATI and ABX be

operationally merged, or effectively merged to form a “single carrier” under the RLA.

37.     IBT’s demands that ATI’s flying for DHL and Amazon be transferred to ABX, and that

ABX and ATI be merged in any manner or respect, is outside the authority of ABX. ABX has

no authority or control over ATI. Any question related to the status of the relationship between

ABX and ATI – whether they might be merged or should remain separate – is an issue that can

only be addressed by the two carriers’ parent company, ATSG.

38.     ATSG is not a “carrier” under the RLA and has no duty or obligation under the RLA to

negotiate with IBT or Local 1224. Accordingly, ATSG has no duty to bargain with Defendants.

39.     The Defendants’ demands that ATI’s flying for DHL and Amazon be transferred to ABX,

and that ABX and ATI be merged, are non-mandatory subjects of bargaining over which

Defendants and ABX’s pilots would not be permitted to engage in self-help, even if all the

RLA’s major dispute resolution processes had been exhausted.

40.     Defendants’ demand would require the transfer of work that is covered by the ATI/ALPA

collective bargaining agreement to ABX and its IBT-represented pilots, which would interfere

with the rights of ATI pilots under their agreement.

41.     ABX has not, and cannot, agree to Defendants’ demands regarding merger with ATI.

Further, ABX has no duty or obligation to bargain with Defendants over these demands.


Defendants’ Concerted Efforts to Improperly Influence Labor Negotiations

42.     Beginning in August 2016, Defendants started exerting economic pressure through

concerted activities to increase leverage in labor negotiations. Those efforts have included a




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strike-authorization vote and implicit and explicit instruction to ban open flying and vacation

buybacks.


The Open Flying Ban Changes the Parties’ Status Quo

43.     Under the Agreement, each of ABX’s crewmembers has the opportunity to bid, each bid

period (each of which equates, generally, to a month), for what is referred to as a “line of time.”

These “lines” are awarded in seniority order and represent the work schedules for the bid period

for the crewmembers to whom they are awarded.

44.     When these lines are constructed it is never possible to incorporate into them all of the

known flying for any particular bid period. Also, flight assignments commonly drop out of

crewmembers’ lines because of training, vacation, leaves of absence, and other causes. The

flight segments and trips (comprised of multiple flight segments) that are left over after the lines

are constructed and awarded, along with the flight assignments that drop out of assigned lines,

are referred to as “open flying.”

45.     Since implementation of the initial labor agreement between the parties in 1992, the

primary method by which open flying has been distributed to crewmembers is through a

seniority-based bid and award process. That remains true under the Agreement.

46.     Also since implementation of the 1992 labor agreement, ABX’s staffing model has

depended upon crewmembers voluntarily bidding for open flying. ABX keeps no crewmembers

on staff solely to cover these open trips. When the Agreement and predecessor labor agreements

were negotiated, both ABX and Local 1224 were aware that ABX depends upon crewmembers

voluntarily bidding for open flying when deciding how many crewmembers it needs for each

position in each aircraft type it operates. There is no other reasonable way in which to staff for




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the daily, weekly, and monthly variations in the volume of flying demanded by ABX’s

customers.

47.      There has been a pool of open flying every bid period since ABX started operating under

its current general scheduling model more than two decades ago. Indeed, given the method by

which lines of time necessarily are constructed, bid, and awarded, a certain volume of open

flying is unavoidable.

48.      The Union bargained for the current general model for distribution of open flying in the

parties’ 1992 labor agreement. This model requires ABX to rely heavily on its crewmembers to

bid for and fly the open flying trips. In exchange, crewmembers earn extra income when they

perform open flying.

49.      If insufficient crewmembers bid for open flying, ABX may utilize an “emergency”

process, known as “junior manning,” (i.e. involuntary overtime) to assign pilots to the open

flying lines.

50.      Under junior manning, pilots who can perform the flight without causing a delay are

assigned open flights in order of reverse seniority.

51.      Pilots who are junior manned are given premium pay.

52.      If a pilot is junior manned on a scheduled day off more than six (6) times in a calendar

year, ABX must provide that pilot with a replacement day off during the same or the following

bid period to replace the day lost due to junior manning (“D6 Day”).

53.      D6 Days were created with an understanding that pilots voluntarily bid on open flying,

which makes resorting to junior manning the exception rather than the rule; D6 Days have been

used under a long-standing past practice that pilots voluntarily bid on open flying.




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54.      Junior manning and the consequent creation of D6 Days was never intended to be used to

assign all, or even most, of the open flying during a bid period; one of the predicates to the

Agreement is an understanding that, indeed, a significant portion of ABX’s crewmembers will

bid for open flying. Traditionally, ABX operates with minimum need for junior manning

because pilots willingly and voluntarily bid on open flying.

55.      When no crewmembers voluntarily bid for open flying, the predictable result is that ABX

will have to junior man those flights. Consequently, pilots will accumulate compounding D6

Days. This process creates an operational “bottleneck” or “snowballing effect” in which ABX is

unable to staff flights because of the accrued D6 Days.

56.      For example, when a pilot receives a D6 Day it results in a previously scheduled workday

becoming a day off in the current bid month or, if there are insufficient work days in the current

bid month, in the subsequent bid month. A pilot can be junior manned on a previously scheduled

workday that was turned into a day off by a D6 Day.

57.      Under the Agreement, a pilot can be junior assigned no earlier than five (5) days before

the assignment. The process of assigning trips through the junior assignment process is time

consuming and has never been used at the volume currently being experienced. As the volume

of D6 Days expands (because pilots are not bidding on open flying), ABX’s ability to properly

complete the assignment process and to successfully contact pilots to give them junior man

assignments, has been and will be impaired, and the Company has not and will not be able to

successfully man flights. This has caused and will continue to cause the snowballing effect of

D6 Days leading to junior manning which leads to more D6 Days. The compounding D6 Days

will inevitably cumulate in ABX’s increased inability to staff flights, cancelling deliveries for

DHL and Amazon. Based on the timing of Defendants’ concerted efforts to ban open flying, this




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bottleneck appears imminent for the Christmas holiday, peak shipping season unless pilots return

to the status quo of voluntarily bidding on open flying time.

58.      If ABX is unable to assign crewmembers to all the available open flying, or otherwise fill

the necessary crew positions (e.g., using management crewmembers), it will suffer a service

failure that will alienate ABX’s customers and those who have entrusted their documents, goods,

and materials to ABX and its customers.


Defendants Have Sponsored, Controlled, Timed, Coordinated, and Enforced the Ban on Open
Flying

59.      Defendants’ concerted ban on open flying is directly responsible for the increased costs

associated with junior manning and ABX’s inability to assign pilots to all scheduled flights. The

ban on open flying was sponsored, controlled, timed, coordinated, and enforced by Defendants.

60.      This concerted refusal by the crewmembers to bid for open time is unlawful self-help that

Local 1224 and its constituents are using in order to try to compel ABX to agree to its proposals

during bargaining. It is, in other words, an attempt by Local 1224 and its constituents to change

the parties’ labor agreement through self-help rather than through the bargaining process.

61.      On several occasions in the past, the Local 1224’s Executive Council has instigated and

encouraged its members to engage in concerted refusals to bid open flying. It has done so by

announcing that the Executive Council would not bid for open time. These announcements have

been followed by precipitous drops in the number of crewmembers bidding for open flying. For

example, in late June 2016, the Executive Council announced that its members would not bid for

open flying and the amount of open flying bids dropped dramatically.

62.      In June 2016, the Executive Council issued an e-mail to all crewmembers stating

crewmembers are not required to bid on open time and were not required to answer calls from

scheduling on a day off. Further, the Executive Council stated they “would no longer carry the



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water for ATSG [bidding on open time]” until ABX consented to certain labor negotiations

regarding the scope of the Agreement. See Exhibit 2, June 2016 Executive Council E-mail to

crewmembers.


Crewmembers Do Not Voluntarily Bid on Open Flying

63.      During the 12 months preceding the May 2016 bid period, virtually all of the available

open flying in any particular month was bid for by, and awarded to, crewmembers. ABX is

staffed with the understanding that that practice will continue. Thus, while any individual

crewmember might decide to bid, or not to bid, for open flying in any particular month, ABX

also must rely on the continuing practice and proposition that, if crewmembers are truly making

independent decisions about performing open flying, it will always have sufficient crewmembers

who will bid for it.

64.      In September 2016, only 0.013% of the available open flying was bid for and awarded to

crewmembers.

65.      In May 2016, ABX’s costs associated with junior manning were approximately

$295,000.00. In June 2016 (after the Local 1224’s e-mail regarding junior manning, which is

described below), ABX’s costs associated with junior manning almost doubled – rising to

approximately $560,000.00. In July 2016, ABX’s costs associated with junior manning more

than doubled again – rising to approximately $1.3 million. In August 2016, ABX’s costs

associated with junior manning rose to approximately $1.8 million. In September 2016, ABX’s

costs associated with junior manning rose to approximately $2.4 million.

66.      ABX’s costs associated with junior manning are currently at unprecedented levels.

67.      In 2014, the average monthly cost associated with junior manning was $127,685.00. In

2015, the average monthly cost associated with junior manning was $313,328.00. The average




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monthly cost associated with junior manning from June 2016 to September 2016 is

$1,506,631.00.

68.      85% of ABX crewmembers are accumulating D6 Days through junior manning. 10% of

ABX crewmembers have accumulated enough D6 Days through junior manning to have an

entire bid period of days off.

69.      66% of ABX’s current flight schedule for the month of November is designated as Open

Flying because of the use of D6 Days to turn previously scheduled workdays into days off.

Because crewmembers are not bidding for open flying, virtually all of the trips on those days will

have to be assigned through the laborious method of junior manning. That includes flights

operating on Thanksgiving and the surrounding days.

70.      ABX crewmembers are also not answering calls from scheduling, which they know will

result in junior manning.

71.      Thus, the junior manning process is further complicated by crewmembers concerted

efforts to avoid calls from crew scheduling.

72.      Defendants’ actions have resulted in management pilots flying trips, which take them

away from training the new hires and from keeping existing pilots current and qualified to fly.

73.      While ABX has attempted to award each D6 day to coincide with the crewmembers’

requested day off, Defendants’ concerted action has made that impossible because of the sheer

number of unanticipated D6 Days being accrued due to the inordinate amount of junior manning

required in order to continue operations.

74.      Immediately following the June email regarding open flying, ABX’s costs for junior

manning have more than tripled.




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75.      On October 17, 2016, Starkovich and Boja discussed the junior manning cost increase

with Ziebarth, on behalf of Local 1224. Ziebarth responded by asking “what will the union get”

in exchange for normalizing the junior manning costs.

76.      On October 19, 2016, Ziebarth, on behalf of Local 1224, told Starkovich and Boja that

junior manning costs would normalize if he could verbally commit to accepting revisions to

Article 1 of the Agreement requiring that ABX do all the DHL and Amazon flying and that ATI

be merged into ABX.

77.      Through discussions with Local 1224 regarding the increased operational costs,

executives of Local 1224 admitted responsibility for and control over the increased costs of

junior manning.

78.      Defendants’ representatives stated during labor negotiations that ABX pilots would

resume bidding on open flying if ABX would concede to demands regarding revisions to the

Recognition and Scope provisions of the Agreement – in particular, the merger of ABX and ATI

or the transfer of all ATI’s freight operations to ABX.

79.      ABX pilots have stated that they desire to bid on open time but have been banned by

Local 1224 from bidding.

80.      The independent decisions by crewmembers to bid on open flying are no longer being

made as was the parties’ historical practice (i.e. status quo); rather, the crewmembers are

following the Executive Committee, in lock-step, in refusing to bid for open flying in order to

coerce ABX into acceding to its demands over non-mandatory subjects of bargaining.

81.      In August 2015, Local 1224 established a mass texting service (SMS) to allow union

leadership to communicate simultaneously with members. One of the purposes of this

communication system is to coordinate the open flying ban and additional RLA violations.




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82.      In May 2016, Local 1224 voted on whether to authorize a strike of ABX crewmembers;

the strike was authorized.

83.      In June 2016, Local 1224 emailed all ABX crewmembers to state that the text message

communication system would be used to communicate the date and time of any work stoppage.

Crewmembers would receive a text message from Local 1224 that read “Hotel Tango Papa” to

indicate a work stoppage. Local 1224 promised to provide funds to cover the cost of airline

tickets used to return crewmembers home in the event of a strike.

84.      On October 28, 2016, Ziebarth informed Boja that if ABX does not award the D6 Days

like it has in the past the union “will shut them down” on November 1, 2016. Later that day, an

ABX captain informed ABX that Defendants had set a strike date of November 2, 2016.


The Vacation Buy Back Ban Changes the Parties’ Status Quo

85.      ABX also uses a process known as “vacation buyback” to pay pilots for their vacation

time, which allows pilots to fly additional open trips or bid on additional lines. The vacation

buyback provisions create pilot availability by decreasing pilot vacation days. The less vacation

ABX buys back, the less availability pilots have for bidding on trips, which results in ABX’s

additional and costly use of junior manning.

86.      The June 2016 email from Local 1224’s Executive Council also stated that crewmembers

do not have to allow ABX to buy back vacation. Significantly, crewmembers then stopped using

that procedure.

87.      Between May and December 2016, ABX bought back an average of 354 vacation hours

per month. In June and July 2016 (after the Local 1224’s email), ABX bought back

approximately 28 hours of vacation each month. In August 2016, ABX bought back zero

vacation hours. In September 2016, ABX bought back approximately 65 hours of vacation. This




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is in stark contrast to the same time period in the prior year in which ABX bought back an

average 389 hours of vacation time in those same months.

88.      Defendants’ concerted ban on vacation buyback is directly responsible for the increased

costs associated with junior manning and ABX’s inability to assign pilots to all scheduled flights.

The ban on vacation buyback was sponsored, controlled, timed, coordinated, and enforced by

Defendants in an unlawful effort to exert economic pressure to influence labor negotiations.

89.      It is clear that Defendants do not intend to fulfill their statutory duty to prevent and stop

unlawful self-help by their constituency. That is, of course, because Defendants are responsible

for this unlawful action.

90.      Should Defendants continue these unlawful concerted efforts for its bargaining purposes,

ABX and its customers will be significantly impacted. Defendants’ concerted actions will

continue to cost ABX millions of additional dollars in increased operational costs. Beyond that,

Defendants’ concerted actions will, in the immediate future, significantly interrupt interstate

commerce by rendering ABX incapable of assigning pilots to trip schedules, resulting in

additional flight cancellations.


The Irreparable Injury to ABX, Its Customers, and the Public by Defendants’ Unlawful
Job Actions

91.      ABX will suffer irreparable injury in the absence of preliminary injunctive relief. Even a

one-day strike could cost the company in excess of $1 million in lost revenue and cancelled

flights. A strike would also damage ABX’s goodwill with DHL and Amazon.

92.      Additionally, as a result of Defendants’ unlawful actions, including banning bids on

opening flying and banning vacation buybacks, ABX has been unable to assign all the available

open flying to qualified crewmembers, resulting in service failures in the form of cancelled

flights and delays.



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93.      Moreover, upon information and belief, pilots from other cargo airlines who are also

represented by IBT will sympathize with a strike on ABX, potentially leading to an extension of

a strike beyond ABX.

94.      Unless the Court enjoins this concerted refusal by ABX’s crewmembers to bid for open

flying and to refuse the vacation buyback program, and requires Local 1224 to take strong

affirmative action requiring its constituency to resume their normal practice of bidding for open

flying and allowing vacation buybacks, ABX will continue to be unable to assign all the

available open flying to qualified crewmembers. That will result in further service failures in the

form of canceled flights or delays.

95.      When this service failure occurs either due to a strike or to inability to staff its flights,

ABX will not be able to deliver a full aircraft-load of packages in a timely manner to its

customers. As many as 20,000 individual customers of DHL and Amazon could be affected by

such a service failure. Those customers could be entitled to demand refunds. More important,

and irreparable, ABX’s reputation will be damaged, and the affected customers (including DHL

and Amazon) could be alienated from ABX and could cease doing business with ABX.

96.      Given the timing of the peak holiday season, Defendants’ actions could result in

imminent and irreparable harm to ABX, ABX’s customers, and the millions of individuals who

rely on DHL and Amazon to deliver on time during the Christmas holiday season.

97.      ABX is in a fiercely competitive business and can ill afford to upset or lose customers,

particularly DHL or Amazon. As a direct result of the imminent strike and concerted refusal to

bid for open flying for which Defendants are responsible, ABX’s reputation as a reliable carrier,

and its relations with its customers, are put in jeopardy, as are jobs of ABX’s union and

nonunion employees.




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ABX’s Effort to Resolve this Dispute without Judicial Intervention

98.       ABX secured its contract with Amazon in the spring of 2016. Following agreement with

Amazon, ABX has aggressively recruited and hired pilots to ensure that it could meet operational

needs. ABX is appropriately staffed if not for the concerted refusal to bid open time.

99.       ABX has sought to avoid disruption to interstate commerce through increasing pilot

hiring, utilizing management to fly lines, creatively scheduling flight routes, turning down

additional work from customers, cancelling a contract with a current customer, and referring

customers to other providers. ABX informed a customer that it could not provide service to that

customer under one of its two contracts for at least the remainder of 2016. ABX has incurred

millions of dollars in increased operational costs in implementing these efforts to maintain

operations in light of Defendants’ actions. Despite the efforts, ABX has had to cancel a contract

and cancel flights as a direct result of Defendants’ concerted actions.

100.      ABX has made numerous efforts to resolve this dispute without judicial intervention.

Only when it became clear that Defendants’ actions have interfered with interstate commerce

and will continue to interfere with interstate commerce, unless enjoined, did ABX initiate this

action.

101.      On October 28, 2016, ABX sent a letter to Defendants asking it to immediately cease and

desist from encouraging ABX’s pilots not to bid open time and from encouraging ABX’s pilots

not to buy back vacation time. ABX also requested that Defendants immediately instruct pilots

that they cannot refuse to work days that appear as workdays on their schedules.

102.      ABX continues to be willing to negotiate with Local 1224; however, Defendants’

demands regarding the Scope of the Agreement are non-mandatory subjects of bargaining.

Further, ABX lacks the authority to acquiesce to their demands; only ATSG could merge ABX

and ATI. Yet, ATSG has no bargaining obligation to Defendants under the RLA.


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103.   Moreover, on October 27, 2016, Defendants filed a single carrier petition with the NMB

seeking a ruling that ABX and ATI are a single carrier. The result of any such finding would be

that Defendants would represent all the pilots of both airlines – the very outcome about which

Defendants have unlawfully insisted on in bargaining with ABX for months.

104.   No money judgment against Defendants could adequately compensate ABX for the

financial and operational turmoil and damage to its reputation, caused by the concerted ban on

open flying and vacation buyback for which Local 1224 is responsible. ABX has no adequate

remedy at law, as the harm caused to ABX will be irreversible, incalculable, and otherwise

irreparable.

105.   The parties’ status quo position includes, but is not limited to, ABX crewmembers

voluntarily bidding on open flying and participating in vacation buyback.

106.   ABX has satisfied all of its legal obligations in connection with this dispute. ABX has

complied with every obligation imposed by law which is involved in the labor dispute in

question and has made every reasonable effort to resolve the dispute.


                                  COUNT I
         VIOLATION OF SECTION 2, FIRST OF THE RAILWAY LABOR ACT

107.   The allegations of paragraphs 1 through 106 are incorporated by reference.

108.   Section 2, First of the Railway Labor Act, 45 U.S.C. § 152, First, requires air carriers and

labor organizations representing their employees to “exert every reasonable effort to make and

maintain agreements concerning rates of pay, rules, and working conditions, and to settle all

disputes, whether arising out of the application of such contracts or otherwise, in order to avoid

any interruption to commerce or to the operation of any carrier growing out of any dispute

between the carrier and the employees thereof.”




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109.   Defendants have violated their mandatory duty to exert every reasonable effort to resolve

its major disputes with ABX. There is no question that the threatened strike is being directed and

sponsored by the Defendants and that, unless enjoined, the Defendants will carry out the strike,

causing irreparable injury to ABX.

110.   The on-going concerted ban on open flying bids and vacation buyback, as well as other

slowdown tactics, for which the Defendants are responsible, also violates their mandatory duty to

exert every reasonable effort to resolve its major disputes with ABX, prior to a release to lawful

self-help, without causing “any interruption to commerce or to the operation of any carrier….”


                                COUNT II
             VIOLATION OF SECTION 6 OF THE RAILWAY LABOR ACT

111.   The allegations of paragraphs 1 through 110 are incorporated by reference.

112.   Section 6 of the RLA, 45 U.S.C. § 156, requires parties engaged in direct Section 6

negotiations for a revised collective bargaining agreement (i.e., negotiations prior to the

involvement of the NMB) to maintain the status quo. For represented employees, this means that

they are forbidden from engaging in strikes or self-help intended to interfere with or disrupt their

employer’s operations. For the union that represents those employees, that status quo obligation

means that it is forbidden from taking any action to cause, encourage, coordinate, or facilitate

unlawful self-help by those employees, including participating in a strike. It also means that the

union has an affirmative obligation – regardless of whether it is in any way responsible for the

employees undertaking unlawful actions – to take all reasonable measures to prevent those

employees’ unlawful self-help from commencing and to stop it if it has begun. Defendants,

herein, have complied with none of those legal obligations in connection with the on-going

concerted refusal to bid on open flying and thus have violated Section 6 of the RLA.




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113.    The purpose of the concerted refusal to bid on open flying and vacation buyback that

Local 1224 has sponsored, encouraged, coordinated, facilitated, and required, and in which

ABX’s crewmembers are engaged, is to compel ABX to accede to Local 1224’s demands in

Section 6 negotiations. Moreover, Defendants have now threatened an imminent strike if ABX

refuses to accede to their demands. That conduct violates Section 6 of the RLA because it is

self-help in support of what is termed, in RLA parlance, a “major dispute,” and does so before

the parties have been released to lawful self-help. Defendants could only engage in self-help if

the NMB released the parties and a 30-day cooling off period expired without a Presidential

Emergency Board being established. As those conditions are not met, Defendants cannot engage

in self-help, including a strike.

114.    In the absence of voluntary negotiations, the procedures set forth in Section 6 of the RLA

represent the mandatory mechanism for changing the terms of an RLA collective bargaining

agreement. The threatened strike and on-going concerted refusal to bid on open flying and

vacation buyback for which the Local 1224 is responsible violates Section 6 of the RLA because

they are intended to force ABX to accede to its collective bargaining demands. It is, in other

words, intended to change the parties’ Agreement by means of self-help rather than through

negotiations.

115.    As to each item of relief sought herein, greater injury will be inflicted upon ABX and the

public if such relief is denied than will be inflicted upon Defendants by the granting thereof.

Defendants will suffer no injury if an injunction is issued, inasmuch as they merely will be

required to comply with the law.

116.    The injunction also would foster the public interest, as it would prevent a significant

interruption to ABX’s operations and interstate commerce, a primary goal of the RLA.




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                                     COUNT III
                 VIOLATION OF 45 U.S.C SECTIONS 152, SIXTH AND 184
                  (ILLEGAL SELF HELP IN AID OF A MINOR DISPUTE)

117.     The allegations of paragraphs 1 through 116 are incorporated by reference.

118.     To the extent that Defendants’ actions are motivated by the dispute concerning the

interpretation and/or application of the Agreement, that dispute is subject to the mandatory

arbitration provisions of 45 U.S.C. Section 152 sixth and Section 184.

119.     Defendants and it members’ actions constitute an illegal strike in aid of Defendants’

position in aid of a minor dispute, in derogation of their duties to resolve the dispute through

arbitration as mandated by the RLA.


                                      RELIEF REQUESTED

         WHEREFORE, Plaintiff ABX requests that this court provide the following relief:

(1)      Issue a temporary restraining order, a preliminary injunction, and a permanent injunction:

         (a)    restoring the status quo and restraining and enjoining IBT, Local 1224, and Local

                1224’s officers, members, and representatives and all persons acting by, in

                concert with, through, or under them and each of them, or by and through their

                orders, and all others acting or participating with them from calling for,

                permitting, instigating, authorizing, encouraging, participating in, approving of,

                commencing, or continuing, in connection with the parties’ Section 6 negotiations

                or any other major dispute contemplated by the Railway Labor Act, any

                disruption, curtailment, or restriction of normal airline operations, including but

                not limited to strikes, concerted refusals to fly, concerted refusals to bid on open

                flying, or other work stoppages, and all acts in furtherance or in support thereof;

                and,




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         (b)    directing Local 1224 and said persons to take all steps in their power to prevent

                said disruption of normal airline operations from commencing or from continuing

                if commenced, including sending a letter to all crewmembers stating that Local

                1224 has violated the Railway Labor Act by encouraging ABX crewmembers to

                strike and to engage in a concerted refusal to bid on open flying, and directing the

                crewmembers to refrain from or cease all such activities immediately.

(2)      Issue a declaratory judgment that Local 1224’s actions complained of herein, and its

crewmember constituents’ concerted refusal to bid on open flying and any other economic action

undertaken by them against ABX, without compliance with the procedures required by the

Railway Labor Act, constitutes joint and individual violations of Sections 2, First, and 6 of the

Railway Labor Act, 45 U.S.C. §§ 152, First; 156.


(3)      Issue an Order providing the following additional relief:

         (a)    ABX pilots who are members of Local 1224 shall have their D6 Days awarded at

                 the same level as was available on May 1, 2016 or, alternatively, ABX be

                 absolved of any liability for accrued but unused for D6 Days that were the

                 eventual result of Defendants’ unlawful self-help; and

         (b)    Defendants provide a copy of this Court’s Order by certified mail to every ABX

                crewmember at their most current address of record, in order to ameliorate the

                effects of Defendants’ unlawful conduct under the RLA.

(4)      Alternatively, to the extent Defendants’ actions constitute a dispute over the

interpretation and/or application of Article 13.M of the Agreement, Defendants shall be ordered

to mandatory arbitration with the status quo returned throughout the pendency of that arbitration.




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(5)      Award damages against Defendants in such amount as may be proven at trial, together

with such other relief as this Court may deem proper, including costs and attorneys’ fees.




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Dated: October 31, 2016


                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

The undersigned hereby certifies that on October 31, 2016, the foregoing was electronically filed

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the following:

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A copy was served on Mr. Doll by email on the foregoing date.


                                                    /s/ Daniel J. Buckley
                                                    Daniel J. Buckley




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